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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
___________________________________
                                    :
ADAM DOBSON,                        :             1:16-cv-01958-CCC
                                    :
               Plaintiff,           :
          v.                        :             (CONNER, C.J.)
                                    :
THE MILTON HERSHEY SCHOOL, et al., :
                                    :
               Defendants.          :
___________________________________ :

  DEFENDANTS’ BRIEF IN SUPPORT OF MOTION TO COMPEL
COMPLIANCE WITH SUBPOENA ISSUED TO NADEGE FLEURIMOND

       Defendants, the Milton Hershey School (“MHS or “School”), and The

Hershey Trust Company, as Trustee of the Milton Hershey School Trust

(collectively “Defendants”), submit this Brief in support of the Motion to Compel,

filed contemporaneously herewith, moving this Court to compel compliance with a

subpoena for production of documents, information, or objects issued on March

13, 2018, to Nadege Fleurimond, pursuant to Rule 45 of the Federal Rules of Civil

Procedure.

 I.    PROCEDURAL HISTORY OF THE CASE

       On August 10, 2017, the Court granted Defendants’ Motion to Dismiss in

full as to certain claims within Plaintiff’s Amended Complaint. (Docs. 50-51.)

Defendants filed an Answer with Affirmative Defenses to the remaining claims of
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the Amended Complaint on August 24, 2017. (Doc. 53.) On July 17, 2018,

Defendants filed a Motion for Judgment on the Pleadings, which is pending before

the Court. (Doc. 92.) Discovery is ongoing in the case.

II.    FACTUAL BACKGROUND

       On March 13, 2018, Defendants issued a subpoena for the production of

documents, information, or objects (“Subpoena”) to Ms. Fleurimond, seeking

specific materials highly relevant to this litigation. See Subpoena and Proof of

Service, attached hereto as Exhibit 1. The Subpoena requested Ms. Fleurimond

produce responsive materials by April 6, 2018. See id. On March 31, 2018,

Defendants served the Subpoena on Ms. Fleurimond.1 See id. Ms. Fleurimond

failed to produce any materials in response to the Subpoena.

       On June 11, 2018, Defendants sent a letter to Ms. Fleurimond attaching the

Subpoena and again requesting that she produce the materials specified in the

Subpoena. See June 11 Letter to Ms. Fleurimond, attached hereto as Exhibit 2.

Defendants also informed her that they would seek relief from the Court should

Ms. Fleurimond not comply with the Subpoena.          Id.   Shortly thereafter, Ms.

Fleurimond contacted counsel for Defendants and stated that she was preparing



       1
         Under Federal Rule of Civil Procedure 45(a)(4), Defendants provided
notice and a copy of the Subpoena to Plaintiff Adam Dobson before serving Ms.
Fleurimond. Plaintiff’s counsel has never objected to the Subpoena or otherwise
filed a Motion to Quash.
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materials responsive to the Subpoena. Despite Ms. Fleurimond’s representation,

she did not produce any materials requested in the Subpoena.

        Over seven months have passed since Defendants served Ms. Fleurimond

with the Subpoena. To date, she has still not produced any materials in response to

the Subpoena. Further, Ms. Fleurimond has failed to provide any written response

or objection to the Subpoena.       Moreover, the current discovery deadline is

December 17, 2018. (Doc. 101.) Defendants’ counsel has attempted to resolve

Ms. Fleurimond’s non-compliance with the Subpoena to no avail.

III.    STATEMENT OF QUESTION INVOLVED

        1.   Whether the Court should compel Nadege Fleurimond to comply with

the Subpoena that was properly served on her, where her response is overdue, and

she has failed to object to the Subpoena or otherwise move to quash?

        Suggested Answer:       Yes.

IV.     ARGUMENT

        A non-party to an action may be compelled to produce discoverable

documents and things as provided in Rule 45 of the Federal Rules of Civil

Procedure. See Fed. R. Civ. P. 34(c). Under Rule 45, “[a] person commanded to

produce documents or tangible things . . . may serve on the party or attorney

designated in the subpoena a written objection to inspecting, copying, testing, or

sampling any or all of the materials . . . .” Fed. R. Civ. P. 45(d)(2)(B). Under Rule


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26, Defendants are entitled to “obtain discovery regarding any non-privileged

matter that is relevant to any party’s claim or defense and proportional to the needs

of the case.” Fed. R. Civ. P. 26(b)(1).

      Objections to the subpoena “must be served the earlier of the time specified

for compliance or 14 days after the subpoena is served.”           Fed. R. Civ. P.

45(d)(2)(B). District courts around the country have recognized that failing to

assert timely written objections results in waiver of those objections. See Brogren

v. Pohlad, 1994 WL 654917, *1 (N.D. Ill. Nov. 14, 1994) (holding that the failure

to assert timely objections to a subpoena constituted a waiver of all objections)

(citing Wang v. Hsu, 919 F.2d 130, 131 (10th Cir. 1990)); see also Schweizer v.

Mulvehill, 93 F. Supp. 2d 376, 412 (S.D. N.Y. 2000) (finding waiver where

objection was not asserted within time under the rule); Creative Gifts, Inc. v. UFO,

183 F.R.D. 568, 570 (D.N.M. 1998) (same).

      Where a subpoenaed person fails to provide materials requested in a

subpoena, Rule 45 permits the serving party to “move the court for the district

where compliance is required for an order compelling discovery or inspection.”

Fed. R. Civ. P. 45(d)(2)(B)(i).

      Here, Defendants effected service of the Subpoena on Ms. Fleurimond on

March 31, 2018, in compliance with applicable Federal Rules.                 Despite

representing to Defendants that she would comply with the Subpoena, seven


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months have passed and Ms. Fleurimond has completely ignored her obligations

under the Subpoena and the Federal Rules. She has failed to produce any materials

in response to the Subpoena. Further, Ms. Fleurimond has waived any objection to

the Subpoena by failing to provide timely written objections to the Subpoena,

which were due April 6, 2018. The materials requested in the Subpoena are

directly relevant to this litigation and are discoverable under Federal Rule 26.

      Accordingly, this Court should direct Ms. Fleurimond to produce all

materials requested in the Subpoena without objection, and without delay. Ms.

Fleurimond’s failure to comply or respond to the Subpoena cannot be excused

under Rule 45.

V.    CONCLUSION

      For the foregoing reasons, Defendants request this Court enforce the March

13, 2018, Subpoena, and compel Ms. Fleurimond to produce all materials

responsive to the Subpoena without further delay and within ten (10) days of the

date of the Court’s Order.




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                                  Respectfully submitted,

                                  ELLIOTT GREENLEAF, P.C.

                                  /s Jarad W. Handelman
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Dated: November 14, 2018          Counsel for Defendants




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                        CERTIFICATE OF SERVICE

      I, Jarad W. Handelman, Esquire, hereby certify that I caused the foregoing

Brief In Support of Motion to Compel Compliance With Subpoena Issued to

Nadege Fleurimond to be served on all counsel via the Court’s electronic filing

system, and on Nadege Fleurimond via email, Federal Express, and U.S. first class

mail at 289 East 95th Street, Apt. #1F, Brooklyn, NY 11212.



Dated: November 14, 2018             /s Jarad W. Handelman
                                     Counsel for Defendants
